Order Form (01/2005)   Case: 3:09-cv-50167 Document #: 40 Filed: 12/10/10 Page 1 of 1 PageID #:118

                               United States District Court, Northern District of Illinois

    Name of Assigned Judge           Frederick J. Kapala            Sitting Judge if Other
       or Magistrate Judge                                           than Assigned Judge

   CASE NUMBER                          09 C 50167                              DATE                     12/10/2010
            CASE                                     Jennifer Mitchell, et al. vs. Barry Barnes, et al.
            TITLE

  DOCKET ENTRY TEXT:

  Pursuant to stipulation of parties, this case is dismissed with prejudice.




                                                                                                           Notices mailed by Judicial staff.




                                                                                             Courtroom Deputy                 sb
                                                                                                       Initials:




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